       Case 4:16-cr-00019-BMM Document 171 Filed 03/06/17 Page 1 of 4



                  UNITED STATES DISTRICT COURT
       FOR THE DISTRICT OF MONTANA, GREAT FALLS DIVISION

                              )
UNITED STATES OF AMERICA,     ) Case No. CR 16-19-GF-BMM
                              )
         Plaintiff,           )
                              ) PROTECTIVE ORDER
    v.                        )
                              )
ENCORE SERVICES, LLC, ZACHARY )
BROOKE ROBERTS, MARTIN GASPER )
MAZZARA, and RICHARD LEE      )
BROOME                        )
                              )
         Defendants.          )

      This Court having granted Defendants’ Joint Unopposed Motion to Unseal

all Court Records, Filings, and Transcripts related to the alleged Co-conspirators in

this case, now enters the following Protective Order related to said materials.

      IT IS HEREBY Ordered that pursuant to Criminal Local Rule 16.4, and to

prevent disclosure of evidence to the public, IT IS HEREBY ORDERED that the

defendants, counsel of record, and the counsel's assistants, as hereafter defined,

shall not disclose the substance of any unsealed records/filings/transcripts related

to the following alleged co-conspirators in this matter unless such material is

already a matter of public record, without prior approval of this Court:

              1.      Neal Rosette;

              2.     Billi Anne Morsette;
                                                                                  Page 1
PROTECTIVE ORDER
       Case 4:16-cr-00019-BMM Document 171 Filed 03/06/17 Page 2 of 4



               3.    John Chance Houle;

               4.    Anthony “Tony” Belcourt;

               5.    Bruce Sunchild;

               6.    Shad Huston;

               7.    James Eastlick, Jr.

      This protective order also includes, but is not limited to, any sentencing

memorandums for said individuals that were filed under seal, and any proceedings

which were transcribed under seal as well. In addition, this protective order also

applies to any 5K1 motions that were filed under seal for the above stated

individuals.

      IT IS FURTHER ORDERED that when disclosing information that is of a

sensitive nature because it contains personal information, personal identifiers, or

financial information, a party may make the disclosure subject to protections

contained in Local Rule 16.4 by including with the disclosure a written notice

explicitly referencing this rule and setting forth the reasons why such protections

are warranted. Upon disclosure the party must include the designation

“SENSITIVE MATERIAL - SUBJECT TO L.R. CR 16.4.”

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                                                                             Page 2
PROTECTIVE ORDER
       Case 4:16-cr-00019-BMM Document 171 Filed 03/06/17 Page 3 of 4



      IT IS FURTHER ORDERED that upon written notice and designation of

sensitive material in accordance with this rule, the following restrictions shall

apply to the designated material: Access to documents shall be limited to:

(A) attorneys representing the defendant or the government; (B) expert witnesses

whose review of the material is necessary for the presentation of the party’s case;

(C) such law clerks, investigative agents, paralegals, and secretaries employed by

defendant or the government, whose review of the material is required for the

preparation and presentation of the party’s case; and (D) the defendant.

Documents shall not be left in the defendant’s possession without defense counsel

present.

      IT IS FURTHER ORDERED that documents shall be used in connection

with a matter pending before this court and for no other purpose. Attorneys shall

expressly advise every authorized person who reviews the documents as to this

limitation on lawful use.

      IT IS FURTHER ORDERED that said materials can be used for further

motions and for use at trial including, but not limited to, for cross-examination

purposes.

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                                                                                Page 3
PROTECTIVE ORDER
       Case 4:16-cr-00019-BMM Document 171 Filed 03/06/17 Page 4 of 4



      IT IS FURTHER ORDERED that it shall be the responsibility of the

attorneys of record in this action to employ, consistent with this rule, reasonable

measures to control duplication of, access to, and distribution of the documents.



      DATED this 6th day of March, 2017.




                                                                               Page 4
PROTECTIVE ORDER
